UN|TED STATES D|STR|CT COURT

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.l Page 1 of 38
EASTERN D|STR|CT OF lVllCHlGAN §§

Casei2i16~cv-11073

DANTE K- MUHAMMAD Judge: Roberts, Victoria A.
l‘vlJ. Whalen, R. Steven
Plaintiff Filed: 03-24-2016 At 12:07 PM
COlVlP lVlUHA|VlNlAD V WELLS FARGO BANK N
V- A (BG) `

VVELLS FARGO BANK, NA.,
Defendant(s),

Trott Law P.C.
31440 Northwestern Hwy. STE 200

)

)

)

/ )

)

)

Farmington Hills, lVl| 48334 )

 

COMPLAINT AND lVlOT|ON TO ENJO|N USE OF VOlD lNSTRUMENTS

Now Comes DANTE K. lVlUl-lAlVllVlAD with a Complaint for failure to give
timely and proper notices required by the Truth ln Lending Act (“T|LA”), 15 U.S.C.

Section 1635, and lVlotion to enjoin Defendants from using Void instrumentsl

The Defendant, Wel|s Fargo Bank, NA is an American multinational banking and

financial services holding company headquartered in San Franciscol California, with

"hub-quarters" throughout the country

l. JUR|SD|CT|ON AND VENUE
1. Pursuant to 15 U.S.C. § 1640(e), this Court has jurisdiction over claims
brought under the Truth in Lending Act (“T|LA”).
2. The statute of limitations for a TlLA claim is one year from the violation.
3. The address of the property involved in this case is located in Southfield
lVlichigan.
4. The address of the Plaintiff is in Southfield lVlichigan.

5. The address of the Defendant is headquartered in San Francisco California.

Page 1 of 3

 

 

 

 

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.Z Page 2 of 38

UNlTED STATES D|STR|CT COURT
EASTERN DISTR|CT OF M|CHlGAN

||. BACKGROUND

‘l. Plaintiff signed a Mortgage in July of 2015 for property situated in the City of
Southfield, state of Michigan.

2. Plaintiff is the owner of the property involved in this instant action.
A|| opportunity to cure defects of violations not limited to the Truth |n Lending
Act have been exhausted.

4. The Defendant has retained counsel to foreclose on the Mortgage involved in
this instant action on N‘larch 29, 2016.

ll|. STATEMENT OF CLA|M

1. Defendant is in Vio|ation of the Truth and Lending Act (“TlLA"), 15 U.S.C.
Section 1635 for failure to give timely and proper notices required by the
Truth |n Lending Act.

2. Plaintiff is not in receipt of all Disc|osures as required by the Truth ln Lending
Act. Specificai|y the two copies of the Notice of Right to cancel with all
necessary information.

3. Plaintiff previously requested ali required Notices a part of a Qua|ified Written
Request for Adequate Assurance of Perfon'nance sent by U.S. Cert`rfied lVlail
No. 70150640000678605012 on October 5, 2015.

4. Defendant has failed to provide information requested in the Qualified Written
Request.

5. A letter of intent to Rescind the loan respective to this instant action
pursuant to the Truth in Lending Act was received by the Defendant by
U.S. Certified Mai| No. 7015152000050254092 on 3/8/2016.

6. The |Vlortgage respective to this instant action is now void by operation of iaw.

7. The Note respective to this instant action is now void by operation of law.

8. To date, the Defendant has acknowledged the Notice of T|LA Rescission.

Page 2 of 3

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.3 Page 3 of 38
UN|TED STATES DlSTRlCT COURT
EASTERN DlSTRlCT OF lV|lCHlGAN

|V. SUMMAR¥ OF THE REL|EF REQUESTED

1. Plaintiff is seeking affirmative relief from this Court to enjoin Defendants from

utilizing void instruments for any enforcement action.

By; R::% l v \\\ogeb_»§ fe j 24 lzc>s\@

Plaintiff Signature Date

 

idle i-‘~`r& ii .\\'\Qn AMMM§

 

Plaintiff
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Address
S@tmri t-_t_@' \\\\ decree

City, State, Zip

 

Page 3 of 3

'_ Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.4 Page 4 of 38

U.$. CERT!F{ED lVlA|l_ NO. 70151520000050254092

l\/iarch 2, 2016

Wells Fargo i-lorne |Viortgage
P.O. Box 10335
Des iVloines, IA 50306-0335

Dear i\/irs. Whitt-Potter - Senior VP

Because you have not provided answers to my "quaiified Written requests"' held pursuant to

the Real Estate Settlement Procedures Act (RESPA) and 12 U.S-C. 2605(e), and Welis Fargo

Bank, NA has failed to provide proof of compiiance with Generaii'y accepted accounting

principles (GAAP) and Generaiiy Accepted Auditing Standards (GAAS), please take notice of my

intent to rescind the above-referenced loan due to the appearance of fraudulent lending

practices and violations against the Truth in tending Act, including but not limited to the

unlawful failure to give timeiy and proper notices required under the Truth and tending Act

(”Tii.A”i, 12 C.i'-.R. 225.23(b)(5}, and 15 U.S.C- Sei:tion 1635. (JE$iivosKi Er ux. v. Courvnwwio£ HoME

LOAN$, iNC., ETAL. jANUARYl.'>’, 2915)

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Ail Rights Reserved.

Cc: John G. Sti.impf- CEO
Maria Tonche - Executive Mortgage Specialist

ACCOUNT NO.C]1123583061

 
    

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ERT|F|ED. NlAlL§ RECElPT

 

 

 

 

 

 

 

 

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Susps.com

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Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.6 Page 6 of 38
Wells Fargo

P.O. BOx 1033-5
WELLS HOME bee Meines, in space-cass

FARGO MORTGAGE`

 

March 08, 2016

Dante K. Muhammad
24604 Templar Avenue
Southtield, MI 48075-6935

Subject: Acknowledgrnent - receipt of inquiry regarding account number 0423583061
Dear Dante K. Muhammad:

Thank you for contacting us. We're writing to let you know that your inquin has been received
and is currently being reviewed.

We expect to complete our research and provide you with the results on or before
March 21, 2016. In the event additional time is needed we will contact you.

We value your feedback and appreciate the time and effort you took to bring your inquiry to our
attention

If you have questions during our review process, please ca11 us at 1-800-853-8516. We are
available to assist you Monday through Friday, 7:00 a.m. to 7:00 p.m. Central Time.

Sincerely,
wm _ w
Leesa Whitt-Potter
Senior Vice President
Wells Fargo Horne Lending

In order to remain compliant with state and federal guidelines, if you have engaged legal counsel for any iitigation,
including bankruptcy, we will communicate with them going forward.

CCSOO/NONE/Co1694983/9€5062659/£|936

Welis Fargo Home Morrgage is a division ofWe|ls Fargo Bank, N,A‘ NMLSR lD 39980|

 

 

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.? Page 7 of 38

STATE OF MICHIGAN
DEPARTMENT OF ATTORNEY GENERAL

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BILL SCHUETTE
A'[`I`O R_N EY GENERAL

March 10, 2016

Dante Muhammad
24604 Templar Avenue
Southiield, MI 48075

Dear Mr. Mnhammad:

Attorney General Bill Schuette asked me to respond to your recent
correspondence regarding Wells Fargo.

Because your complaint primarily relates to Wells Fargo, we forwarded it to
Wells Fargo for a response Once we have a response from the company, we Will
contact you.

Thank you for bringing this matter to our attention
Sincerely yours,

y~/z?va

Joseph E. Potchen
Assistant Attorney General
Corporate Oversight Division

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.8 Page 8 of 38

Wells Fargo
Po sex 10335
WELLS HOME Des Maines, ia sosos¢oass

FARGO MORTGAGE

March 10, 2016

Dante K. Muhammad
24604 Templar Avenue
Southfield, MI 48075

Subject: Acknowledgment - receipt of inquiry regarding account number 0423583061
Dear Dante K. Muhammad:

We're writing to inform you that we’ve received an inquiry from the State of Michigan, Office of
the Attorney General on your behalf and it’s currently being reviewed.

We expect to complete our research and provide the State of Michigan, Oflice of the Attorney
General and you with the results on or before March 23, 2016. In the event additional time is
needed we will contact the State of Michigan, Office of the Attorney General and you.

We value your feedback and appreciate the time and effort you took to bring your inquiry to our
attention.

If you have questions during our review process, please call us at 1-800-853-8516. We are
available to assist you Monday through Friday, 7;00 a.m. to 7:00 p.m. Central Time.

Sincerely,
Leesa Whitt-Potter

Senior Vice President
Wells Fargo Home Lending

[n order to remain compiiant with state and federal guidelines, if you have engaged legal counsel for any litigation,
including bankruptcy, we will communicate with them going forward.

CC503/JMN/co1697320/ge5075640/C|936

We|ls Farqo Home Mortgage is a division ofWe|ls Faigo Sani., N.A. NMLSR |D 39980|

 

 

Case 2:16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.Q Page 9 of 38

Notice Of Mortgage Foreciosure Sale

TH|S FlRM |S A DEBT COLLECTOR ATTEMPT|NG TO COLL.ECT A DEBT. ANY |NFORMAT|ON WE OBTAIN \NlLL
BE USED FOR THAT PURPOSE. PLEASE CONTACT OUR OFF|CE AT THE NUMBER BELOW IF YOU ARE lN
ACT|VE MlLlTARY DUT\r'.

ATTN PURCHASERS: This sale may be rescinded by the foreclosing mortgageel ln that eventl your damages, if any,
shall be limited solely to the return of the bid amount tendered at sale, plus interest

MORTGAGE SALE - Defau|t has been made in the conditions of a mortgage made by Dante K Muhammad, a single
person, original mortgagor(s), to Wel|s Fargo Bank, N.A., Nlortgagee, dated June 16, 2015, and recorded on June 23.
2015 in Liber 48317 on Page 398, in Oakiand county records, Michigan, on which mortgage there is claimed to be due at
the date hereof the sum of One Hundred Sixty Thousand Seven Hundred Eight and 41/100 Do|lars ($160.708.41).

Under the power of sale contained in said mortgage and the statute in such case made and provided, notice is hereby
given that said mortgage will be foreclosed by a sale of the mortgaged premises, or some part of them, at public vendue,
at the place of holding the circuit court within Oakland County, at 10:00 AM, on March 29, 2016.

Said premises are situated in City of Southfield, Oakland County, Michigan, and are described as: l_ot 129, Southfield
Farm Subdivision, according to the plat thereof as recorded in Liber 81, Pages 34 and 35 of Plats1 Oal<|and County
Records - -

The redemption period shall be 6 months from the date of such sa|e, unless determined abandoned in accordance with
MCLA 600.32413, in which case the redemption period shall be 30 days from the date of such saie.

if the property is sold at foreclosure sale under Chapter 32 of the Revised Judicature Act of 1961, pursuant to NlCL
600.3278 the borrower will be held responsible to the person who buys the property at the mortgage foreclosure sale or
to the mortgage holder for damaging the property during the redemption period

Dated: March 1. 2016

For more infom'ration, please call:

FC D (248) 593-1309

Trott i_aw, P.C.

Attomeys For Servicer

31440 Northwestem Hwy Ste. 200
Farmington Hi|ls, Michigan 48334-5422

Fiie #460527F01

 

 

1- CaS€ 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.lO Page 10 Of 38

AFFIDAVIT OF OWNERSH|P

Being familiar with the facts recited herein, l Muhammad Dante K. being first duly subscribed

 

and sworn under oath, affirms to have taken possession of such referenced authenticated
Warranty Deed identified by LlBER 48486 PAGE 191 in the Oal<land County Register of Deeds
Office, United States of America #15055170-1, and State of lViichigan #148392-2-415440-157 in
accordance with UCC § 9-313 (a)(b)(cl, UCC §3-419, l-ilR - 192, and Public Law 73-10.

Therefore be it Ye known to all Registrar of Titles and any other interested parties, that you are
to treat Niuhamrnadl Dante K. as the Holder in Due Course and verified Owner of such

referenced instrument

Accordingiy as the true owner, i\/luhammadl Dante K. shail forever more use this genuine

security with the full faith, credit, and Benefit as guaranteed to him by iaw.

\r\lsnnl§\ ;t: ir

Owner's Signatu re

Dated this ‘ZL:` dayof S§Dkr@““‘\¢`-`LQ~ ,20\:.

 

 

State of ' ibi l ah 3161 l"~f ) §
l
County of LU‘ CL‘_~{ /~13'€» l

SUB$CRIBED AND AFFIRMED:

ri\~ s » ri
On this ($/;B day cf §{)Ff€'“l E>Ql‘/ , 2015 AD, before me appeared the above natural person
proved to me orr the basis of satisfactory evidence to be the man whose name is subscribed on this
lnstrument.

Witness my hand and sea|:

./ ,i.
Né’ Prl'blic \-j

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f _,n-‘: .a ,-,. _.ii ,...-.i .. _ ..,¢, -,
DONZELL RUSSELL

thary Public - Michigan

Wayne Couniy

lilly Comrnissie:r fxpires tila ib`, 2017

`1 listing in the Courr'.y or §§ E;-; E-::r§ "

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' My Ci€ mission expires:

      

 

:: 11073-VAR-RSW ECF No. 1 filed 03/24/16 PagelD.11 Page 11 of 38

 

State of Michigan
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DEPAR TMENT OF STA TE
NOTARY PUBLIC CERTI`FICATION

 

l, Rth Johnson, Secrerary of State of the State of Michr'gan _and custodian ofrhe Grear Seal of
the Stare, hereby certr'jj) rhar, DONZELL RUSSELL, whose notarizolr`on is affixed to the
annexed instrument was on the date thereof the duly elected or appointed and qualified
Notarj) Publz`c in and for the County of WA HVE in this State and all ojicial acts as such v
should be givenfull faith and credit in all Coui'rs of Jusiice and elsewhere

IN TESTIMONY WHEREOF, l have herein
aj"rxed my signature and Great Seal of the
Stare, ar Derroir, this 3 Oth day of
September in the year of our Lord two
thousand and fiji‘een.

adea

Secretary of State

 

Tiu's cenlfrcarion attests only to lhe ar.rt|'renlieity of the signature of the official `
who signed the aFExed clement the capacity in whid'r that oflic‘ral adad. and

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.lZ Page 12 Of 38

 

 

@ 15055170-1

United States ofAmerica

 

DEPARTMENT OF STATE
T 0 all to whom these presents shall come, Greetings:

I Certify That the document hereunto annexed is under the Seal of the State(s) of Michigan,
and that such Seal(s) is/are entitled to filll faith and credit.*

*F or the contents of the onne\:ed document,the Depar?ment assuring no responsibility
'Fltis certificate is not valid if it is removed or altered in any way whatsoever

In testimony whereof, I. John F. Kerry, Secretaxy of State , have
hereunto caused the seal of the Department of State to be affixed and
my name subscribed by the Assistant Authentication Officer, of the
said Department, at the city of Washington, in the District of
Columbia, this leeenth day of September, 2015-

"`\._~_V/t ft l"

 

 

 

 

lssued pursuant to CHXIV. State aj /‘

sept 15. 1789, 1 stat 63_69.- 22 g S€Cf¢t§lr}' foa‘fC
UsC 2657; ezosc 265/tt- 5 osc B ~\ if\ 4

301; 28 USC 1733 et seq.,- 8 UsC Y V .

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C' `! Proced re.
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-_-__`11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.lS Page 13 Of 38

 

State of Michigan

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DEPAR TMENT OF STA TE
COUNTY CLERK CERTIFICATION

  

 
 
 
 
   
    

 

  

 

i, Ruth Johnson, Secretazy of State of the State of Michigan and custodian of the Great Seal of

the State, hereby certi)jl that, Lisa Brown, whose attestation is ajj"`zxed to the annexed
instrument was on the date thereof the duly elected or appointed and qualified Oaklana'
County Clerlc and the Clerlc of the Circuit Court and all aj'icial acts as such should be given
full faith and credit in all Courts of.]ustice and elsewhere

IN TESTIMONY WHEREOF, l have hereto
aj"txed my signature and Great Seal of the
State, at Detroit, this 17th day ofAugust in

the year of our Lord two thousand and

fij$‘een.

sd

Secretary of State

 

This certification attests only lo the ammulicity of the signature either amr:'al
who signed the affixed dowme.ru. lhe capacity in mm mal ali'icial adsd_ and
_ _ .__ where appropriate ma identity of the seal or stems whim the dowmem bears
148392 2 415440 157 Thls certification is not intended to imply that the contents nl the dowmem ana
conecl. nor that they have lhe approval d the Slale of M`sd\igan. '

 

CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.14 Page 14 Of 381L

 

AFF!DAVIT OF ACKNOWLEDGMENT

l declare this is a Certificate of Acknowledgement and this includes all
attached documentsl

 

RETURN ADDRESS:

DANTE KOLAN MUHAMMAD

24504 Templar Ave. l
summers Machigan 4aan `-.

 

§ space move mrs LmE ron REcoRoea‘s use
GRANTOR: BRENDA Y HORTON and EDWARD HORTON, wife and husband
Grantee: Dante K. Muhammad

l, Dante K. Muhamrnad in the capacity of Grantee as recorded oh the attached
warranty (Grant) deed for the real estate recorded in l_iber 81 Page 34 of Plats, Oakland
County Records - more commonly known as 24604 Ternplar Ave.. Southheld Michigan
48075 hereby accepts the deed conveyed to me. and hereby assumes lawful ownership
of such said property under the terms of the Deed_

l hereby request that the record on tile in the Of'i`rce of the Register of Deeds be updated
to show my acceptance of the deed as lawful owner of this real estate

This is my freewill act and deed, i?lder my hand and seal;
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W§WQJ L\(\__i\/ ...,£/..»-_-C~Z==`i S>ff§> f ZCii`-`:l

Dante K. Muhammad Date

_Wl"\;ll:i ` _

State of Michigan

 

   

On this ___6,": day of August, before me the subscriber,‘ ' l ii "` 'l\_)ofi.'-"\-'\'
personally appeared Dante l(. Nluhammad to me known to be the living man described

in and who executed the foregoing instrument and acknowledged before me that he
executed the same as his freewill act and deed_

l,\\ ‘__"'."-` 11 l

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§ SGUU instructor
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' Oak|arm Cnunly
My Commission Expires An 21, 2013
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- Nolary Public

 

 

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Case 2:16- - - `
cv 11073 VAR-RSW ECF No. 1 filed 03/24/16 Page|D.15 Page 15 of 38

STATE OF MICHIGAN,
County of Oakland ss

i, Lisa Brownl Cierk of the County of Oakland, and of the Circuit Court of said Countyl the same being a Court of Record having by law
a seal do herby certify that

SCO'IT TARK|NGTON
Was a NOTARY PUBL|C on 02/01/2012with an expiration date of 08121!2018 being duly commissioned, sworn and authorized by
the laws of the State of Michigan to take and certify affidavits and the acknowledgment or proof of deeds or other written
instruments to be recorded in the said State. l affirm that the information on this verification is correct

IN WITNESS WHEREOF, t have hereunto set my hand and seal of Pontiac, Michigan, this
13 August 2015.

Countv Clerk

 

 

 

- ' CaSe 2216-CV-11013%6¢AR8RSM¢?E ECF NO. 10151€€}503/24/16 Page|D.lG Page 16 Of 38

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jUL 1 5 2015 Lisa Erown. C|erk;'Register of Deeds

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*
Warranty Deed

 

§h_u?,j; rigier nda Y norton ana award Honon. wire and husband 244 o¢,t Pmpéqe Sth EH
cy is to: Da.nte K Muhammad a single man whose address rs 3758 Fuilcrtori St.
Dt:tmit Ml 48238 '

The following described premises situated in the City of Southf`ieid, County of Oakland State of
Michigan:

Lol 129. SOUTHFIELD FARMS SUBDIV`{SION, as recurded' m Liber 81 Page 34 of Plals,
Oaklaud County Records

Morc commonly known as: 24604 Tcmpiar Ave.. Southf'ietd. Ml 430?5

T.'tx Pai'ccl No.: 24-25-204-013

For thc full consideration of Orie Hundrcd Fifiy Ninc Thousand and 00!100 Doiinrs
(5159.000.00)

Subjoct lo: existing building and usc rcstn`ctions. zoning ordinances and easements of rccord.

Daicd: 06/16/20]5

Signed by:

r‘B“‘C“'i&€“/ hide

Brcnda ‘x' l:lorton

 

Edwa:d Honon

STATE OF MlCHlG/\N
COUN'I`Y OF Oakland

The foregoing instrument was acknowledged before me this iéth day of June 2015 by Brenda Y

Hortori and Edw:trd Horrori. wife and husband g § -

mary marie .__/Coumy. Michigan

   

 
    
 
 
 
 

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Hntiry Puntic - Micnigm
oakland Cnunty

My Cummiuiori Elpires is . t
Actirig iri the county 01

Dmftcd by'. Edward Hudson. lS¢Si W Tcn Milc Rd. Southi`teld, MI 480'!5
Filc No.: 150017
Reium to: D:mte Muimmm:id. 2460-4 Ti:mpiar. Southt`ield. MI 48075

 

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My Commission Expirt:s:

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City/County`$tamps: S 172.15
Statc Stamps: S 1173.75
Rccording feet 515.00

      
   
 

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.l? Page 17 Of 38

CERT!F|CATE OF COPY OF RECORD
STATE OF NllCHlGAN , COUNT‘( OF OAKLAND

l LtSA BROWN Register of Deeds for Oakland County, codify that the attached
c(o/p is?a true and correct transcript of the original record in i_iber -
_'_;j_iz~.___

Pagei$) _ZF_L__

in testimony whereof l have set my hand and placed the seal of REG|STER OF
pesos this /@\LI/c day or
»L',{'»t rit1\¢- 51 20 15

1 j .»- - j `
By_' //i" it td\c-/l/»‘c/’\/\n<£f ”P’\\=/é\j Deputy

 

 

11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.lS Page 18 Of 38

 

State of Micliigan
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DEPARTMENT OF STA TE
NOTARY PUBLIC CERTIFICATION

I, Rth Johnson, Secretary ofStale of the State ofMi'chigan and custodian afthe Great Seal Of
the Stale, hereby certi`jj) lhai', THOMAS M DILLON, whose notarizarir)n fs a]j"lxed 10 the
annexed instrument, was on !he date thereof the duly elected or appoinred and qualified
Natary Publi'c in and for the Couniy ofOAKLAND in this State and all ojj‘icfal acts as such
should be given full fairh and ci'edi'f in all Coui'ts ofJuince and elsewhere

IN TESTH|/IONY WHEREOF, 1 have hereto
afj?xed my signature and Greal Seal of !he
Slate, ar Dei‘roi't, this 26th day of February
in the year ofour Lord twa thousand and

sixteen

edge

Secreraiy ofState

This codification allests only lo the authenticiiy of the signature ol' the official
who signed lha affixed ducumsn'l, the mpacily in which lhal amaral acted, and
1567 1 4_2_437277_157 where appropria!a. ihe idenlity of lha seal or stamp which me documenl bears.

This certification is not intended to imply ihat !he merits nl the document are
correcl, nor lhat they have fha approval n|' lhe State of Michigan,

 

 

 

‘ - CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.19 Page 19 Of 38

AFF|DAV|T
l STATE OF [“_l\Li-liénw'
COUNTY OF Om-i.mui>
.r'
l, leaning ill _i)ii_i_oi\) , the undersigned Notary, being of sound mind and

 

under no duress, do hereby certify, attest and affirm that a flesh and blood Human

Being named dqu lL Mung_mmn\> , PERSONALLV came before me and

presented identification that he currently resides in (Lu.tn¢)§ County, in the
Republic State of M\c\i‘\f»i¢li'~l , and made the below mentioned his/her

statement and Genera| Affidavit upon oath and affirmation of belief and personal
knowledge that the following matters, facts and things set forth are true and correct to

the best of his/her knowledge

STATEMENT-
l do affirm that the attached NOTE is the NOTE sent to me from Wells Fargo Home

Nlortgage on Wednesday, August 26, 2015 as a password-protected Adobe Acrobat

document

l Dante K. Muhammad, now affix my signature under Oath and under Common Law.

Dated this __l_____""\ bday of -)A~om.~l 2€¢;

§s::e it tith

Si'gnature of Affi'ont

 

SWORN to and subscribed before me, this the l'#lwday of _l»\'uvn-r=-\ ,20 ll

 

 

 

THOMAS M. Dii_i_oN
. NOTARY PueLic ~ iviiciiiGAN
W W M oAi<LANo coui~irz
Ac'rii~io in THE cousin oi= g waive
NOTARY PUBL|C M¥ commission exPiRes oinerzozi

 

 

|Vly Commission Expires: jewun.~ lL, 701|

 

 

 

CaSe 2:16-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.ZO gaps ig w
Note

 

 

i*iiOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT TI-IE
A PPROVAL OF THE DEPARTNIENT OF VETERANS AFFAIRS OR _
l`l`S AUTHORIZED AGENT.

June 16, 2015 _ Farrnington Hills Ml
roger - rciin iswi=i
" " ` "" j24604 Templ§tr AVE,"SOU ll'IFIELD,NII 48075"""*" ` """ " '_" j " `
[Propcrty Addrcss] '

1 . Borrower's Promise to Pay. I.n return for a loan that l have received, l promise to pay U.S. $159,800.00 (this amount
is called-"Pnncrpal’?);plus.interest,..to.theordcr.of the.Lcnder. .Thc Lendec is..Wells FargoBank, N.A-.,I will make.all
payments under this Note in the form of cash, check or money order_

l understand that the Lender may transfer this Note . The lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the "Nore Holder

2. interest lntercst will be charged on impaid principal until the full amount of Princ`rpal has been paid. I will pay interest
at a yearly rate of 4.375%.

The interest rate required by this Section 2 is the rate I will pay both before and sher any default described in Section 6(B) -
of this Note.

3. Payments.

(A) Time and Place of Payments. l will pay principal and interest by making a payment every month
iil wTIl make nmy"rnoilthl_y'[;a¢ym;nt onthc let dayt)fe_echitnoriih bcgihltidg'on A;r§ds_t' l,i?'.{ll'$. l will make'"thcse polymer-rts "
every month until l have paid all of the principal and interest and any other charges described below that I may owe under
this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest before
__l_'rincip_a_l_. l_f, on Jiiiyl, 3§045`7,"! still owe amounts under this l~_lotc, I will pay those amounts in full on that datc, which is
called the "Marurr'ry Dare " " ' " ' " ' ----- -- - - -_-. iii . . ,, ,,,
l will make my monthly payments at PO Box 11701, Newarlr, NJ 07101~4701 or at a diB`erent place if required by the
Note Holdcr_

` "(B) A`inoiiint `of Morithly demerits.`My'rnonthly' payment will be in 'tti'e ainonnt*ot`U.S;"$?Q?;So'_
4. Borrowei”s Right to Prepay.

`Ihe Bornower shall have the right to prepay at any timc, without premium or fee, the entire indebtedness or any part thereof
nor less than the amount of one installment, or $100.00, whichever is less. Any Prepaymem in full of the indebtedness shall
be credited on the date rcceived, and no interest may be charged thereafier. Any partial Prepayment made on other than an
installment due date need not be credited until the next following installment due date or 30 days after such Prcpayrnent,
whichever is earlier.

 

5. LOai’l Chaf'ge$. lfa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that
the interest or other loan charges collected or to 'be collected in connection with this loan exceed the permitted limits, then:
(a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted lindt_; and (b) any

,, sums already collected nom_rne, which exceeded pcmt_i.tt¢._d limits will be rcfintded tome 'I_h_€ N,OlB__I_'I_Old€I,may.._€-hQGS§_tO_..
make this refund by reducing the Principal l owe under this Note cr by making a direct payment to me. If a refund reduces
Principal, the reduction will be treated as a partial Prcpayment.

 

, , HcFG_m? . ___ c ,, , ... ._ _.. , i, _. n .._. cf , __ W _ 1 .. h 1 _ ,,,, ..._ _._. ,-- ... ,, , _..__ . 7 , -. . .. . _. ina __._
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wants lGi.imr Fmrmrid Serviiu 2015001815.1.0.3112-.12015012¥ Page 1 at 3

 

 

 

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6. Borrower's Failure to Pay as Required_. `_
(A) Late Charge for Overdue Payments. lftire Note Holder has not received the fi.rll amount of any monthly ' §§ .`

'by the end of Fiftcen calendar days alter the date it is due, I will pay a late charge to the Note Holder "llic amount
- charge will be 4.000% of my overdue payment
l will pay this late charge promptly but only once on each late payment
(B) Default. If l do not pay the full amount of each monthly Payment on the date it is due, I will be in default
(C) Notice of Default. lfl am in default, the Note Holder may send me a written notice telling me that ifl do not pay

the overdue amount by a certain date, the Note Holder may require rne to pay immediately the full amount of Principal
which has not been paid and all the interest thatl owe on that amount That date must be at least 30 days after the date

on which the -noh`ce--is-mailed-to-rne-or deliveredbyctlaer¢_rnearts.j fffff .. ____ ____.._.

(D) No Waiver By Note Holder. Even if, at atime when l am in dcfault, die Note Holder does not require me to pay
immediately in fall as described above, the Note Holder will still have the right to do so if I am in default at a later time

- - (E)-Payment--of-Note Holder's Costs and Expenses. lfthe Note Holder has required.rne .to_pay_immediately,in, ,, ,

full as described above, the Note Holder will have the right to be paid back by me for all of its costs and expenses in
enforcing this Note to the extent not prohibited by applicable law. Those expenses include, for examplc, reasonable

attomeys' fees.
7. leing of Notices. Unless applicable law requires a different method, any notice that must be given to me under this
Note will be given by delivering it or by mailing it by first class mail to me at the Propert:y Address above or at a different
address if l give the Note Holder a notice of my diB:`erent address
Any notice that must be given to the Note Holder under this Note will be given by delivering it orby mailing it by first class
mail to the Note Holder at the address stated in Section 3(A) above or at a different address if l am given a notice of that
different addressl
B. Obllgatlons of Pel'$ons Under This Note. lfmore than one person signs this Note, each person is fully and personally

' obligated to keep allof“tiie promises made in this Notc, including the-promise to pay~the-full-amctmt-owed, Any person¢who rs 7

is a guarantor, surety or endorser of this Note is also obligated to do these things Any person who takes overthece obligations,
including the obligations of a guarantee surety or endorser of this Note, is also obligated to keep all of the promises made
in this Note. The Note Holder may enforce its rights under this Note against each person individually or against all ofus
tegether-. This means thatl any one of us may be required to pay all oftheamountsowedamder this Note,. __ _. _. .. .

9. Walvers. l and any other person who has obligations under this Note waive the rights ofPresennnent and Notice of
Dishonor_ “Presemmem" means the right to require the Note Holderto demand payment of amounts due. "Not:'ce of
D_r'shonor” means the right to require the_l"lote Holdertongive notice to other persons that amounts due have not been paid.

 

10. Allonge to Th_is Note. Ifan allonge providing for payment adjustments or for any other supplemental mformatron is -

executed by the Borrower together with this Note, the covenants of die allonge shall be incorporated into and shall amend
and supplement the covenants of this Note as if the allonge were a part of this Note. [Checlt applicable box]

ij Graduated Payment Allonge Cl Other [Specify] El Other {Specii`y]

 

 

11 . Uniform Secured Note. This Note is a uniform instrument with limited variations in some jurisdictions ln addition
to the protections given to the Note Holder under this Note, a Mortgagc, Deed oanrst, or Secun'ty Deed (the "Securiry
Insrmmem "), dated the same date as this Note, protects the Note Holder horn possible losses that might result if I do not
keep the promises which l make in this Note- That Security lnstrument describes how and under what conditions l may be
required to make immediate payment in hill of all amounts l owe under this Note. Sorne of those conditions are described

as follows: .

Regulnions (38 C.F_n Pan 36) issued maine m§nmmr'ofvnems main (“VA '*) emmett Loan suitability ' '

(33 U.S.C. Chapter 37) and in effect on the date of loan closing shall govern the rights, duties and liabilities ofthc parties

 

_._..Hc.f-Gm.|~r ..___.____ y ......___ ____ , , . . .. . ._
Formm{ln‘l}

MULHS'R`¥E FUED HATE NU!'E$¥|§E FBI'l'lly-Fal'tlt'¢ MB,G|F|'MH'B M$ll UNlFORM lN&‘l`I\WBlT-V¢MWII$ mlli

VMFQ
W'd¥ers lower Flrnro'll Sa'vin§ 2015061615.1.0.3112-.|20150123‘|'

 

 

 

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a § § '
-: 3 »-: ..:=' z-: : =_-_\ provisions ofthis Note which am inconsistent with such regulations are herebv amended and
g'§`g*::~:'::` :; :::-nform thereto.
‘:’=‘555 “ 'E H,.\ND($) AND sEAL(s) 01= THE UNDERSIGNED
j*`{ '.","` if E;'
_(£__ \‘¢= Z.O\_§
Dante KMuhan:nad Date
Seal
' ' j'['Sl`gr'!"()J"I'gz'a»m.l Oniy]
Loan Origination Organization: Wells Fargo ` '
Bank N. A
NMLSR ID:'3`99`8`0`1` ` "

Loan Orlgmator: MARKGJARBO
NMLSR ID:1008927

 

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N." l

 

 

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Wal.em Kluwef F'ma¢i Sann'o¢s

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wlTHouT RECOuHSE
.P.Av.Tc) THE ORDER-OF- -

WELLS FARGO BANK. N.A.

-DAvln c. PETERSON. service vaca PHES¢DENT

Page 23 of 38

 

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Case ,16-cv-11073-VAR-RSW ECF No. 1 filed 03/24/16 Page|D.24 Page 24 0

 

 

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ky _-`
_ MortgageOnlineCustomerService@weflsfargo.com
_,,=~ Wednesday, August 26, 2015 12:48 P|Vl
___§ onemajestic@live.com
§§ese~.:: Your Requested Wells Fargo Mortgage Document(s)

lite:-.»'"--e-':s: Muhammad Note.pdf
Wells Fargo Home Mortgage
Written Conespondeuce
P.O. Box 10335
D% Moinos, lA 50306

Eear Dante Mnhammad:

Tnanl< you for contacting We]ls Fargo Home Mortgage. To protect your loan information I have attached a
copy of your Note in a password-protected Adobe Acrobat document

Your password is your ten-digit loan number If you do not have your loan number, please call us at 1-866-
234-8271 Monday through Friday between 6:00 am and io:oo pm Central Time and on Satnrdays between
8:00 am and 2:00 pin Central Time.

Sincerely,
Mortgage 0nline Customer Service

Wells Fargo Banl<, N.A. is required by the Fair Debt Collection Practlces Act to inform you that, as your account servicer,
We are attempting to collect a debt, and any information obtained will be used for that purpose However, if you have
received a discharge from bankruptcy, and the account was not reaffirmed in the bankruptcy case, We]ls Fargo Bank, NA
will only exercise its rights against the property and is not attempting any act to collect the discharged debt from you
personally

With respect to those accounts secured by property located in the State of Ca]ifomia, the state Rosenthal Fair Debt
Collection Practices Act and the federal Fair Debt Col]ection Practices Act require that, except under unusual
circumstances collectors may not contact you before 8 am or after 9 pm. They may not harass you by using threats of
violence or arrest or by using obscene language Collectors may not use false or misleading statements or call you at work
if they know or have reason to know that you may not receive personal calls at work. For the most part, collectors may not
tell another person, other than your attorney or spouse, about your debt. Collecrors may contact another person to
confirm your location or enforce a judgment For more information about debt collection activiti%, you may contact the
Federal Trade Commission at 1-877~FTC»HELP or www. . v.

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Protect yourself from fraud and identity theft To learn more, go to wellsfarqo.comjprz'oacu securitu//in

.‘=feiis Fergo Home i'~"lo:tgege is a division of ‘\-'L-'si!s i-'ai'go Bank, ;'-.I,-
We!is Fargo is an Eousi -_

©2013 ‘\"~Jeils Fa.rgo Bani<, i\J..Li. eli rights reserved Ni‘-ELSR iD 399801

 

~ ' CaSe 2216-CV-11073-VAR-RSW ECF NO. l filed 03/24/16 Page|D.26 Page 26 Ol 38

Mortgage

 

Ret_h rn To: Wells Fargo Bank, N.A.
Flb»lAL DOCS NOOlZ-OlB
6201) PARK AVE
DES MO[NES, IA 50321

Prepared By: SCO'IT l LUCAS
2701 WELLS FARGO WAY

3RD FLOOR

l\/]INNEAPOLIS, MN 55408-8000

Def-initlons. Words used in multiple sections of this document are defined below and other words are defined in Sections
3, ll, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section
16.

(A) "Security Instmment " means this document which is dated June 16, 2015, together with all Riders to this document

(B) “Borrower ” is Dantc K Muhammad, a single persou;. Borrower's address is 3750 FULLERTON ST, DETROIT,
MI 48238. Borrower is the mortgagor under this Sccurity Instrument.

(C) “Lender' ” is Wclls Falgo Banl<, N.A_. Lender is a corporation organized and existing under the laws of Unitcd
States of America. Lender's address is 101 North Phillips Avenue, Sioux Falls, SD 57104. Lender is the mortgagee
under this Security lustrument.

(D) “Note " means the promissory note signed by Borrower and dated lone l6, 2015, The Note states that Borrowcr
owes Lender one hundred fifty nine thousand eight hundred and 00/ 100 Dollars (U.S. 3159,800_00) plus interest

Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than July l7
2045.

(E} "Properly” means the property that is described below under the heading "Trausfer of Rights in the Propcrty."

(F) "Loan ” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note, and all sums due under this Sccurity Instrument, plus interest

 

HCFG-UOSSC|

M|CHlGAN'Single Fami|y-Fannie Maei‘Freddle Mac UNlFORM |NSTRLJMENT . Fo,.m 30231,01
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Wolters Kluwer Flnanclal Serv`lces 2015061515.1 D.3‘ll'2-J20150123Y Page 1 01 13

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.Z? Page 27 Of 38

(G) "erer‘s means all Riders to this Security lnstrurnent that are executed by Borrower. The following Riders are
to be executed by Borrower [checl< box as applicable]i

|:] Ad_iustable Rate Rider [l Condominiurn Rider \:\ Second Home Rider
ij Balloon Rider ij Planned Unit Development Rider [:l 1-4 Family Rider
121 VA Rider ij Biweeldy Payrnent Rider [:l Other(s) [specify}

(l-I) "Applr'cable Lcrw ” means all controlling applicable federal, state and local statutes, regulations: ordinances and

administrative rules and orders (that have the effect of law) as well as all applicable tinal, non~ap`pealable judicial
opinions

(_I) "CommunityAssocr`alton Dues, Fees, andAssessments means all dues, fees, assessments and other charges that
are imposed on Bori'ower or the Property by a condominium association, homeowners association or similar organization

(.j]) “Elecrronrc Funds Trcmsj%r” means any transfer of funds, other than a transaction originated by check, draft, or

similar paper instrument, which is initiated through an electronic terminal, telephonic instrument_. computer; or magnetic
tape so as to order, instruct, or authorize a financial institution to debit or credit an account Such term includes, but

is not limited to, point-of-sale trausfers, automated teller machine transactions, transfers initiated by telephone, wire
transfers, and automated clearinghouse transfers

(K) "Escrow Irems” means those items that are described in Section 3.

(L) ’Mr`sce[laneous Proceeds ” means any compensation, settlement, award of darnages, or proceeds paid by any third
party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to= or destruction
of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of
condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

(M) ‘Morrgage Insurance ” means insurance protecting Lender against the nonpayment of, or default on, the Loan.

(N) "Periodr`c Payment” means the regularly scheduled amount due for (i) principal and interest under the Note: plus
(ii) any amounts under Section 3 of this Security Instrument. ‘

(JO) "RESPA " means the Real Estate Settlement Procedures Act (12 U.S .C. Section 2601 et seq,) and its implementing
regulation, Regulation X (12 C.F.R_ Part 1024), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter As used in this Security Instrument, RESPA
refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan" even if the
Loan does not qualify as a "federally related mortgage loan" under RESPA_

(P) "Successor in interest ofBorrower means any party that has taken title to the Property, whether or not that party
has assumed Borrower's obligations under the Note and/cr this Security instrument

Transfer' of Righfs in the Property. This Security Instrurnent secures to Lender: (i) the repayment of the Loan, and
all renewals, extensions and modifications of the Note', and (ii) the performance of Borrower's covenants and agreements
underthis Security lnstrumeut and the Note. Forthis purpose, Borrower does hereby mortgage, warrant, grant and convey
to Lender and Lender's successors and assigns, with power of sale, the following described property located in the Couuty
[Type of Recording Jurisdiction} of Oal<land [Narne of Recording Jurisdiction]: see attached

Parcel ID Number; 2425 204013 which currently has the address of 24604 Templar AVE [Street] SOUTI-IFIELD lCity],
Micihigan 48075 [Zip Code] ("Property Adclress"):

TOGETHER Wl'l`H all the improvements now or hereafter erected on the property, and all easements, appurtenances,

andlfixtures now or hereafter a part of the property All replacements and additions shall also be covered by this Security
lustrument. All of the foregoing is referred to in this Security I-nstrument as the "Property_"

 

Hchj-noaso

MlCHIGAN-Sing|e Fami|y-Fanrrie Mae!Fredclre Mac UN!FGRM !NSTRUMENT Form 3923 1!01
VMP® mm
Wollers Kluwer Flnancial Servioes 2015061615_1,0,3112~.120150123\’ Page 2 sr 13

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.ZS Page 28 Of 38

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to mortgage
grant and convey the Property and that the Property is unencumbered, except for encrunbrances of record Borrower
warrants and will defend generally the title to the Property against all claims and demands: subject to any encumbrances
of record

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
variations by jurisdiction to constitute a uniform security instrument covering real property

Uniform Covenant$. Borrower and Lender covenant and agree as follows:
l

1. P'ayment cf Principal, |nterest, Escrow Items, Prepayment Charges, and Late Charges. Borrcwer shall
pay lwhen due the principal of and interest on, the debt evidenced by the Note and any prepayment charges and late
chariges due under the Note Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under
the Note and this Security lustrument shall be made in U.S. currency However, if any check or other instrument received
by Lender as payment under the Note or this Security lnstrument is returned to Lender unpaid, Lender may require that
any pr all subsequent payments due under the Note and this Security Instrument be made in one or more of the following
fortns, as selected by Lender; (a) cash', (b) money order; (cl certified check, bank check, treasurer's check or cashier's
check, provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instninientality,
or entity; or (d) Electronic Funds Transfer.

Payinents are deemed received by Lender when received at the location designated in the Note or at such other location
as may be designated by Lender in accordance with the notice provisions in Section 15 Lender may return any payment
or partial payment ifthc payment or partial payments are insufficient to bring the Loan current Lender may accept any
payment or partial payment insufficient to bring the Loan current without waiver of any rights hereunder or prejudice
to its rights to refuse such payment or partial payments in the future but Lender is not obligated to apply such payments
at the time such payments are accepted If each Periodic Payment is applied as of its scheduled due date, then Lender
need not pay interest on unapplied funds Lender may hold such unapplied funds until Borrower makes payment to bring -
the Loan current If Borrower does not dc so within a reasonable period oftirne7 Lender shall either apply such funds or
return them to Borrower If not applied earlier, such funds will be applied to the outstanding principal balance under the
Note immediately prior to foreclosure No offset or claim which Borrower might have now or in the future against Lender
shall relieve Borrower from making payments due under the Note and this Security lnstrument or performing the covenants
and agreements secured by this Security Instrument.

2. App|ication of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted
and applied by Lender shall be applied in the following order ofpriority: (a) interest due under the Note', (b) principal
due under the Note', (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payrnent in the
order in which it became due Any remaining amounts shall be applied first to late charges, second to any other amounts
due under this Security InstrtunentJ and then to reduce the principal balance of the Note

lf Lender receives a payment from Borrower for a delinquent Periodic Payrnent which includes a sufficient amount to
pay any late charge due, the payment may be applied to the delinquent payment and the late charge lf more than one
Periodic Pay'ment is outstanding, Lender may apply any payment received from Bor:rower to the repayment of the Periodic
Pay`ments if= and to the extent that7 each payment can be paid in full. To the extent that any excess exists after the payment
is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late charges due
Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application ofpayrnents, insurance proceeds, or Miscellan`eous Procecds to principal due under the Note Shall not
extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow ltems. Borrower shall pay to Lender on the day Periodic Payments are due under the Note, until
the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments and

other items which can attain priority over this Security Instrument as alien or encumbrance on the Property; (b) leasehold
payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section

 

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.ZQ Page 29 Of 38

5;_ and (d`) Mortgage lnsurance premiums if anyg or any sums payable by Borrower to Lender in lieu of the payment of
Mortgage lnsurance premiums in accordance with the provisions of Section lO. lhese items are called "Escrow Items."
At origination or at any time during the term of the Loan, Lender may require that Cornmunit_v Association Dues_ Fees,
and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower
shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the
Funds for Escrow ltems unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow ltems. Lender
may waive Borrower’s obligation to pay to Lender Funds for any or all Escrow ltems at any time_ Any such waiver may
only be in writing ln the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due
for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires_. shall furnish to
Lender receipts evidencing such payment within such time period as Lender may require Borrower‘s obligation to make
such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this
Sccun'ty lnstrument, as the phrase "covenant and agreement" is used in Section 9. lf Borrower is obligated to pay Escrow
ltems directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow ltem, Lender may exercise
its rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender
any such amount Lender may revoke the waiver as to any or all Escrow ltems at any time by a notice given iri accordance
with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such arnounts, that are then
required under this Section 3.

lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
time specified under RESPA: and (b) not to exceed the maximum amount a lender can require under RESPA. Lender
shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow ltems or otherwise in accordance with Applicable Law

The Funds shall be held in an institution whose deposits are insured by a federal agency, instnimentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Banl<. Lender
shall apply the Funds to pay the Escrow Items no later than the time specified under R_ESPA_ Lender shall not charge
Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow ltems_
unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge Unless
an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be required
to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however1 that interest
shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as required
by RESPA.

lfthere is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
funds in accordance with RESPA. lf there is a shortage of l~`unds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage
in accordance with RESPA, but in no more than 12 monthly payments lf there is a deficiency of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
amount necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments

Upon payment in full of all sums secured by this Security lnstrurnent, Lender shall promptly refund to Borrower any
Funds held by Lender `

4. Charges; L_iens. Borrower shall pay all taxes, assessments, charges, lines, and impositions attributable to the Property
which can attain priority over this _Security lnstrument, leasehold payments or ground rents on the Property, if any, and
Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow ltems, Borrower
shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security lnstrument unless Borrower (a) agrees
in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as
Borrower is performing such agreement‘, (b) contests the lien in good faith by, or defends against enforcement of the lien
m, legal proceedings which in Lender's opinion operate to prevent the enforcement ofthe lien while those proceedings

 

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.SO Page 30 Of 38

are pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an agreement
satisfactory to Lender subordinating the lien to this Security lnstrurnent. lf Lender determines that any part of the Prope rt_\'
is subject to alien which can attain priority over this Security lnstrurnent, Lender may give Borrower a notice identifying
the lien. Within 10 days of the date on which that notice is given_. Borrower shall satisfy the lien or take one or more of
the actions set forth above in this Section 4,

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used by
Lender in connection with this Loan.

5. F?roperty lnsurance. Borrower shall keep the improvements now existing or hereafter erected on the Property
insiired against loss by Hre, hazards included within the term "extended coverage," and any other hazards including, but
not limited to, earthquakes and tloods, for which Lender requires insurance This insurance shall be maintained in the
amounts (including deductible levels) and for the periods that Lender requires What Lender requires pursuant to the
preceding sentences can change during the term of the Loan. The insurance carrier providing the insurance shall be chosen
by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably
Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
deterrnination, certification and tracking services; or (b) a one-time charge for flood zone determination and certification
services and subsequent charges each time remappings or similar changes occur which reasonably might aii`ect such
determination or certification Borrower shall also be responsible for the payment of any fees imposed by the Federal
Emergency Management Agency in connection with the review of any flood zone determination resulting from an
objection by Borrower

lfBorrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage= at Lender's
option and Borrower's expense Lender is under no obligation to purchase any particular type or amount of coverage
Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the Property,
or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was
previously in eil`ect. Borrower acknowledges that the cost of the insurance coverage so obtained might signihcantly
exceed the cost of insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section 5
shall become additional debt of Borrower secured by this Security Instnunent_ These amounts shall bear interest at the
Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower
requesting payment

Alliinsurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss
payee Lender shall have the rightto hold the policies and renewal certificates IfLender requires, Borrower shall promptly
give to Lender all receipts of paid premiums and renewal notices If Borrower obtains any form of insurance coverage,
not otherwise required by Lender, for damage toz or destruction of, the Property, such policy shall include a standard
mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee

ln the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender Lender may make proof of
loss if not made promptly by Borrower Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,
whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property:
if the restoration or repairis economically feasible and Lender's security is not lessened During such repair and restoration
period, Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such
Property to ensure the Work has been completed to Lender‘s satisfaction, provided that such inspection shall be undertaken
promptly Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed Unless an agreement is made in writing or Applicable Law requires interest to be
paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds
Fees for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and
shall be the sole obligation of Borrowe rw If the restoration or repair is not economically feasible or Lende r's security would
be lessened, the insurance proceeds shall be applied to the sums secured by this Security lnstrument, whether or not then

 

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.31 Page 31 Of 38

due_, with the excess__ if any, paid to Borrowerl Such insurance proceeds shall be applied in the order provided for iii
Section 2.

lf Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related matters
lf Borrower does not respond within 30 days to anotice from Lender that the insurance carrier has offered to settle a
claim, then Lender may negotiate and settle the claim The 30-day period will begin when the notice is given ln either
event, or if Lender acquires the Property under Section 22 or otherwise: Borrower hereby assigns to Lender (a) Borrower’s
rights to any insurance proceeds in an arnoth not to exceed the amounts unpaid under the Note or this Security lnstrurnent__
and (b) any other of Borrower‘s rights (other than the right to any refund of unearned premiums paid by Borrower) under
all insurance policies covering the Property, insofar as such rights are applicable to the coverage of the Property Lender
may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
Sec`urity lnstmment, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within 60 days
after the execution of this Security Instrumerit and shall continue to occupy the Property as Borrower's principal residence
for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall riot be
unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control

7. Preservation, Maintenance and Protection of the Property; lnspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property Whether or not Borrower
is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or
decreasing in value due to its condition Unless it is determined pursuant to Section 5 that repair or restoration is not
economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or damage
lf insurance or condemnation proceeds are paid in connection with damage toJ or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such purposes Lender
may disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work
is completed If the insurance or condemnation proceeds are not sufficient to repair or restore the Property_ Borrower is
not relieved of Borrower's obligation for the completion of such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property lf it has reasonable cause, Lender
may inspect the interior of the improvements on the Property Lender shall give Borrower notice at the time of or prior
to such an interior inspection specifying such reasonable cause

8. Borrower's Loan Applicatiori. Borrower shall be in default if, during the Loan application process, Borrower or
any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false,
misleading, or inaccurate infonnation or statements to Lender (or failed to provide Lender with material information) in
connection with the Loan Material representations include, but are not limited to, representations concerning Borrower*s
occupancy of the Property as Borrower‘s principal residence

9. Protection of Lender's lnterest in the Property and Rights Under this Security instrument If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal proceeding
that might significantly affect Lender's interest in the Property and/or rights under this Security lnstrument (sucli as a
proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority
over this Security instrument or to enforce laws or regulatious), or (c) Borrower has abandoned the Property, then Lender
may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under
this Security lnstrument, including protecting and/or assessing the value of the Property7 and securing and/or repairing
the Property Lender's actions can iriclude, but are not limited to: (a) paying any sums secured by a lien which has priority
over this Security lnstrument; (b) appearing in court; and (c) paying reasonable attomeys' fees to protect its interest in
the Property and/or rights under this Security lnstrument, including its secured position in a bankruptcy proceeding
Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks, replace or board
up doors and windows, drain water from pipes, eliminate building or other code violations or dangerous conditions, and
have utilities turned on or off Although Lender may take action under this Section 9, Lender does not have to do so and

 

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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.SZ Page 32 Of 38

is not under any duty or obligation to do so lt is agreed that Lender incurs no liability for not taking any or all actions
authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
lnstrurnent Those amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with
such interest, upon notice from Lender to Borrower requesting payment

lf this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease lf Borrower
acquires fcc title to the Property_. the leasehold and the fee title shall not merge unless Lender agrees to the merger in
writing

10.5M0rtgage lnsurance. If Lender required Mortgage lnsurance as a condition of making the Loan__ Borrower shall
pay=the premiums required to maintain the Mortgage Insurance in effect lf, for any reason, the Mortgage lnsurance
coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance
and:Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance:
Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage lnsuranoe previously
in effect, ata cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from
an alternate mortgage insurer selected by Lender If substantially equivalent Mortgage Insurance coverage is not available,
Borrower shall continue to pay to Lender the amount of the separately designated payments that were due when the
insurance coverage ceased to be in effect Lender will accept, use and retain these payments as a non-refundable loss
reserve in lieu of Mortgage Insurance Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan
is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve
Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount and for the period
that Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage `lnsurance. If Lender required Mortgage Insurance
as a condition of making the Loan and Borrower was required to make separately designated payments toward the
premiums for Mortgage lnsurance: Borrower shall pay the premiums required to maintain Mortgage Insurance in effectz
or to provide a non~reftmdable loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance with
any written agreement between Borrower and Lender providing for such termination or until termination is required by
Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mo`rtgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
does not repay the Loan as agreed Borrower is not a party to the Mortgage Insurance

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into agreements
with other parties that share or modify their risk, or reduce losses These agreements are on terms and conditions that are
satisfactory to the mortgage insurer and the other party (or parties) to these agreements These agreements may require

the mortgage insurer to make payments using any source of funds that the mortgage insurer may have available (whrch

may include funds obtained from Mortgage Insurance prerniurns}.

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurerJ any other entity, or
any a.l_’t”lliate of any of the foregoingJ may receive (directly or indirectly) amounts that derive from (or might be characterized
as) a portion ofBorTower's payments for Mortgage lnsurance, in exchange for sharing or modifying the mortgage insurer's
risk, or reducing losses lf such agreement provides that an affiliate of Lender takes a share of the insurer's risk in exchange
foria share of the premiums paid to the insurer7 the arrangement is often termed "captive reinsurance_" Further:

(A) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for
Mortgage lnsurance, and they will not entitle Borrower to any refund.`

(B) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the
right to receive certain disclosurcs, to request and obtain cancellation of the Mortgage lnsurance, to have

 

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the Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance
premiums that were unearned at the time of such cancellation or terminationl

11. »Assignment of Misce|laneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and
shall be paid to Lender

lf the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property: if the
restoration or repair is economically feasible and Lender's security is not lessened During such repair and restoration
peri§od, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect
such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be
undertaken promptly Lender may pay for the repairs and restoration in a single disbursement or in a series of progress
payments as the work is completed Unless an agreement is made in writing or Applicable Law requires interest to be
paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds If the restoration or repair is not economically feasible or Lender's security would be lessened_.
the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due:
with the excess, if any, paid to Borrower_ Such Miscellaneous Proceeds Shall be applied in the order provided for in
Section 2.

In the event of atotal taking, destruction7 or loss in value of the Property, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security lnstrument, whether or not then due, with the excess, if any, paid to Borrower

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums
secured by this Security Instrurnent immediately before the partial taking: destruction, or loss in value, unless Borrower
and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of
the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured immediately
before the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately
before the partial taking, destruction, or loss in value Any balance shall be paid to Borrower

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured immediately
before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security instrument whether or not the sums are
then due

lf the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within

30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to
restoration or repair of the Property or to the sums secured by this Security lnstrument, whether or not then due "Opposing
Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right
of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
this Security lnstrument_ Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes
forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this Security
instrument The proceeds of any award or claim for damages that are attributable to the impairment ofLender’s interest
in the Property are hereby assigned and shall be paid to Lender

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
provided for in Section 2.

 

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notice may result in acceleration of the sums secured by this Security Instrument and sale of the Property.
The notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring
a court action to assert the non-existence of a default or any other defense of Borrower to acceleration and
sale.§ If the default is not cured on or before the date specified in the notice, Lender at its option may require
immediate payment in full of all sums secured by this Security Instrument without further demand and may
invo;ke the power of sale and any other remedies permitted by Applicable Law. Lender shall be entitled to
collect all expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited
to, reasonable attorneys' fees and costs of title evidence.

If Lender invokes the power of sale, Lender shall give notice of sale to Borrower in the manner provided
in S_ection 15. Lender shall publish and post the notice of sale, and the Property shall be sold in the manner
prescribed by Applicable Law. Lender or its designee may purchase the Property at any sale. The proceeds
of the sale shall be applied in the following order: (a) to all expenses of the sale, including, but not iimited
to, reasonable attorneys' fees; (b) to all sums secured by this Security lnstrument; and (c) any excess to the
person or persons legally entitled to it.

23. :Re|ease. Upon payment of all sums secured by this Security Instrument, Lender shall prepare and file a discharge
ofth`is Secun`ty Instrument. Lender may charge Borrower a fee for releasing this Secun`ty Instrument, but only if the fee
is paid to a third party for services rendered and the charging of the fee is permitted under Applicable Lawi

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security lnstrument
and in any Rider executed by Borrower and recorded with it.

 

 

Borrower
Danjte K Muhammad Date

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Acknowledgment
State of Michigan
County of

 

 

 

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Loan Origination Organization:Wells Fargo Loan Originator: MAR.KGJARBO

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Vl. CAUSE OF ACTION

 

 

 

 

Vll. REQUESTED IN :l C|[b_(`l\' ll-' `['H|_‘~_`, ]S ,\ ('l,ASS _.\("[|u\ Dl-ll\l.#\f\l) S ("11[§(`['§ YlfS on|) if demanded in complaint
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CB_S€ 2216- -11073-VAR-RSW ECFN .l i'i d / _
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i. ls this a case that has been previously dismissed? m Y€S
. . . . No
|f yes, give the following information:
Court:
Case No.:
Judge:
2. Other than stated above, are there any pending or previously

discontinued or dismissed companion cases in this or any other m Yes
court, including state court? (Companion cases are matters in Which NO
it appears substantially similar evidence wi|| be offered or the same

or related parties are present and the cases arise out of the same

transaction or occurrence.)

|f yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :
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CaSe 2216-CV-11073-VAR-RSW ECF NO. 1 filed 03/24/16 Page|D.SS Page 38 Oi 38

 

Ne_w Lawsuit >C:heckv|;i:sit

|nstructions: Put a check mark in thebox` next to each appropriate entry to be sure yoi.i _have alithe:¢"equired documents

 

re

Two (2) completed Civi| Cover Sheets.

 

Enter the number of defendants named in your
lawsuit in the blank below, add 2 and then enter the
total in the blank.

\ + 2 = j Comp|aints.

11 of Defendants Tcta|

Rece`ived by C|erk:Mddresses are complete: M

 

CaseiZ.‘lS-cv-‘HGYS

Judge. Roberts, VictoriaA
MJ' Wha|en, R. Steven

Filed. 03~24`2016 At12:07 PM

COMP MUHAMMAD V
A(BG) WELLS FARGO BANK, N

 

 

lf any of your defendants are government agencies:

 

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Current new civil action filing fee is attached.

Fees may be paid by check or money order made out to:

Clerk, U.S. Dr'stn'ct Court

Received by Clerk: Receipt #:

 

Provide two (2) extra copies of the complaint for the U.S. Attorney and the Attorney General.

'.F

 
 
   

Two (2) completed App|ication to Proceed in District
Court without Prepaying Fees or Costs forms.

Received by Clerk:gh

 

Se|ect the:-Method of Service you will employ to notify`your defenda nts:

 

Service via _Summons

Ser\li€_e"by U.'S'.'Marshal:-_

"(On|y available if-fee is: waived) :

by Se|f

Se rvice via-Waiver _o_j.Summons
'{U.S. Govemme`nt cannot be a defendantj

 

 

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Note any deficiencies here:

Two (2) completed
USM - 285 Forms per
defendant, if you are
requesting the U.S.
Marsha| conduct service
of your complaintl

Two (2) completed
summonses for
each defendant
including each
defendant's name
and address

Cl

Two (2) completed
Request for Service by
U.S. Marshal form.

Received by Clerl<: Received by Clerk:

 

 

 

 

 

CJ

 

Clerk’s Office Use Only

You need not submit any forms regarding the Waiver
of Summons to the Clerk.

Once your case has been filed, or the Application to
Proceed without Prepaying Fees and Costs has been
gM, you will need:

~ One (1) Notice of a Lawsuit and Request to
Waive Service of a Summons form per
defendant

¢ Two (2) Waiver of the Service of Summons forms
per defendant

Send these forms along with your filed complaint and
a self-addressed stamped envelope to each of your
defendants

 
 
 

 

 

Rev. 4/ 13

 

 

 

 

